ILND 44 (Rev. 08/23)                             CIVIL COVER
                            Case: 1:24-cv-01538 Document #: 1 Filed:SHEET
                                                                     02/23/24 Page 1 of 33 PageID #:1
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except
as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                                 DEFENDANTS
        Paul Schroth Wolfe                                                                                         Steven E. Looper, Paul Schlieve a/k/a Paul Whinnery a/k/a Paul Schmidt,
                                                                                                                   and John Doe(s) Unidentified Co-Conspirator(s),

   (b) County of Residence of First Listed Plaintiff DuPage County, IL                                            County of Residence of First Listed Defendant Travis County, TX
                                     (Except in U.S. plaintiff cases)                                               (In U.S. plaintiff cases only)
                                                                                                                     Note: In land condemnation cases, use the location of the tract of land involved.

   (c) Attorneys (firm name, address, and telephone number)                                                         Attorneys (If Known)
         Patterson Law Firm, LLC, 200 W. Monroe St., Suite 2025,
         Chicago, Illinois 60606, 312-223-1699


II. BASIS OF JURISDICTION (Check one box, only.)                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                           (Check one box, only for plaintiff and one box for defendant.)
  1 U.S. Government                       3   Federal Question                                                                            PTF DEF                                                PTF      DEF
      Plaintiff                                 (U.S. Government not a party.)                                                           ■
                                                                                                                                                              Incorporated or Principal Place of
                                                                                                             Citizen of This State            1           1                                          4        4
                                                                                                                                                              Business in This State

  2 U.S. Government                   ■   4   Diversity                                                     Citizen of Another State       2       ■     2    Incorporated and Principal Place        5       5
      Defendant                                 (Indicate citizenship of parties in Item III.)                                                                of Business in Another State

                                                                                                            Citizen or Subject of a
                                                                                                                                           3             3    Foreign Nation                          6      6
                                                                                                            Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
          CONTRACT                                                  TORTS                                        PRISONER PETITIONS                          LABOR                      OTHER STATUTES
                                                                                                                510 Motions to Vacate                  710 Fair Labor Standards
  110 Insurance                               PERSONAL INJURY                    PERSONAL INJURY                    Sentence                                                          375 False Claims Act
                                                                                                                                                           Act
  120 Marine                       310 Airplane                     365 Personal Injury -                       530 General                            720 Labor/Management
                                                                                                                                                                                      376 Qui Tam (31 USC
                                   315 Airplane Product Liability   Product Liability                                                                                                      3729 (a))
                                                                    367 Health Care/                            535 Death Penalty                            Relations
                                 ■ 320 Assault, Libel & Slander                                                                                                                       400 State Reapportionment
                                                                        Pharmaceutical
  130 Miller Act                   330 Federal Employers'               Personal Injury
                                        Liability                                                               Other:                                 740 Railway Labor Act          410 Antitrust
                                                                        Product Liability
  140 Negotiable Instrument        340 Marine                       368 Asbestos Personal                      540 Mandamus & Other                    751 Family and Medical         430 Banks and Banking
  150 Recovery of Overpayment      345 Marine Product Liability         Injury Product                         550 Civil Rights                             Leave Act                 450 Commerce
       & Enforcement of Judgment   350 Motor Vehicle                    Liability                              555 Prison Condition                    790 Other Labor Litigation     460 Deportation
  151 Medicare Act                 355 Motor  Vehicle  Product                                                 560 Civil Detainee -                    791 Employee Retirement        470 Racketeer Influenced
  152 Recovery of Defaulted            Liability                  PERSONAL PROPERTY                                 Conditions                                                             and Corrupt
                                                                                                                                                             Income Security Act
       Student Loan                360 Other Personal Injury                                                        of Confinement                                                        Organizations
      (Excludes Veterans)          362 Personal Injury - Medical    370 Other Fraud                                                                                                   480 Consumer Credit
  153 Recovery of Veteran’s            Malpractice                                                                                                     PROPERTY RIGHTS
                                                                    371 Truth in Lending                                                                                              485 Telephone Consumer
       Benefits                                                                                                                                        820 Copyright
  160 Stockholders’ Suits                                                        380 Other Personal                                                    830 Patent                          Protection Act (TCPA)
  190 Other Contract                                                                 Property Damage                                                   835 Patent - Abbreviated       490 Cable/Sat TV
  195 Contract Product Liability                                                 385 Property Damage                                                       New Drug Application       850 Securities/Commodities/
  196 Franchise                                                                      Product Liability                                                 840 Trademark                      Exchange
                                                                                                                                                       880 Defend Trade Secrets       890 Other Statutory Actions
                                                                                                                                                           Act of 2016 (DTSA)         891 Agricultural Arts
      REAL PROPERTY                            CIVIL RIGHTS                       BANKRUPTCY                    FORFEITURE/PENALTY                     SOCIAL SECURITY                893 Environmental Matters
   210 Land Condemnation                  440 Other Civil Rights                 422 Appeal 28 USC 158          625 Drug Related Seizure               861 HIA (1395ff)               895 Freedom of Information
                                                                                 423 Withdrawal                     of Property                        862 Black Lung (923)               Act
   220 Foreclosure                        441 Voting                                                                21 USC 881
   230 Rent Lease & Ejectment             442 Employment                               28 USC 157               690 Other                              863 DIWC/DIWW                  896 Arbitration
                                                                                                                                                             (405(g))                 899 Administrative
   240 Torts to Land                      443 Housing/Accommodations                                                                                                                      Procedure
   245 Tort Product Liability             445 Amer. w/ Disabilities-              IMMIGRATION                                                          864 SSID Title XVI                 Act/Review or Appeal of
   290 All Other Real Property                Employment                         462 Naturalization                                                    865 RSI (405(g))                   Agency Decision
                                          446 Amer. w/Disabilities -                  Application                                                                                     950 Constitutionality of
                                              Other                              463 Habeas Corpus –                                                    FEDERAL TAXES                     State Statutes
                                           448 Education                             Alien Detainee                                                    870 Taxes (U.S. Plaintiff
                                                                                     (Prisoner Petition)                                                     or Defendant
                                                                                 465 Other Immigration                                                 871 IRS—Third Party
                                                                                      Actions                                                              26 USC 7609
V. ORIGIN (Check one box, only.)
  1 Original                2 Removed from                   3   Remanded from                   4 Reinstated                           5 Transferred                    6 Multidistrict         8 Multidistrict
    Proceeding                State Court                        Appellate Court                   or Reopened                            from Another                     Litigation -            Litigation -
                                                                                                                                          District                         Transfer                Direct File
                                                                                                                                         (specify)

VI. CAUSE OF ACTION ( Enter U.S. Civil Statute under which you are filing and                              VII. PREVIOUS BANKRUPTCY MATTERS (For nature of suit 422 and
                                                                                                           423, enter the case number and judge for any associated bankruptcy matter previously adjudicated by
write a brief statement of cause.)                                                                         a judge of this Court. Use a separate attachment if necessary.)
 28 U.S.C. § 1332; Defamation, abuse of process
VIII. REQUESTED IN                 Check if this is a class action under Rule 23,     Demand $ 200,000+           CHECK Yes only if demanded in complaint:
       COMPLAINT:                  F.R.CV.P.                                                                      Jury Demand:      Yes           No                           ■


IX. RELATED CASE(S) IF ANY (See instructions): Judge                                                         Case Number
X. Is this a previously dismissed or remanded case?                  Yes        No If yes, Case #■           Name of Judge
       02/23/2024
Date: ___________________________________________                                                   /s/Thomas E. Patterson
                                                                    Signature of Attorney of Record ______________________________________________
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

  Paul Schroth Wolfe,

                      Plaintiff,
                                         Case No.: 24-cv-1538
             v.
                                         JURY TRIAL DEMANDED
  Steven E. Looper, Paul Schlieve
  a/k/a Paul Whinnery a/k/a Paul
  Schmidt, and John Doe(s)
  Unidentified Co-Conspirator(s),

                      Defendants.

                                   Complaint

 Plaintiff Paul Schroth Wolfe (“Wolfe”), by and through his attorneys,

 Patterson Law Firm, LLC, complains of Defendants Steven E. Looper

 (“Looper”), Paul Schlieve a/k/a Paul Whinnery a/k/a Paul Schmidt

 (“Schlieve”), and John Doe(s) Unidentified Co-Conspirator(s) (“Doe”) as

 follows:

                                   Introduction

 1. This case concerns an overarching scheme Defendants enacted in

 order to defame, disparage, and discredit Plaintiff personally and

 professionally in furtherance of their larger goal to remove Plaintiff from

 his position as Trustee of certain family trusts (the “Trusts”) and from his

 position as director of certain entities, or to otherwise bypass Plaintiff

 and defraud Plaintiff’s employer by creating a perceived crisis of solvency

 and marketability through which Defendants might illicitly extract assets

 for their own benefit.
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                                    Parties

 2. Plaintiff Wolfe is an experienced financial services professional and

 citizen of DuPage County, Illinois.

 3. Defendant Looper is a citizen of Texas residing in Travis County.

 4. Defendant Schlieve is a citizen of Texas residing in Williamson

 County.

 5. Plaintiff currently cannot identify Defendant Doe’s name and address.

 Defendant Doe’s name and address can be provided through discovery.

                           Jurisdiction and Venue

 6. This Court has jurisdiction over this action pursuant to 28 U.S.C. §

 1331 and 28 U.S.C. § 1332.

 7. Additionally, this Court has supplemental jurisdiction over Plaintiff’s

 state law claims pursuant to 28 U.S.C. § 1367.

 8. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

 because the events or omissions giving rise to the claims that are the

 subject of this Complaint occurred in the Northern District of Illinois.

                                       Facts

 9. In August of 2022, an anonymous party (the “Complainant”) using

 the alias “Susan Essex” filed a complaint against Plaintiff in DuPage

 County, Illinois (the “2022 Complaint”), raising a series of scurrilous,

 denigrating, and disparaging allegations regarding Plaintiff, including

 that engaged in criminal activity and adultery.




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 10. After filing the 2022 Complaint, the Complainant made no efforts to

 serve—or even notify—Plaintiff of the case brought against him, nor did

 “she” make any other efforts to otherwise litigate the case.

 11. Indeed, Plaintiff did not learn of these false and scurrilous allegations

 until after the complaint was posted on a website in October 2023 (the

 “First Website”).

 12. On or about October 31, 2022, the case was dismissed for want of

 prosecution. At no point thereafter did the Complainant seek to reinstate

 the matter. In other words, the Complainant was not even interested in

 appearing before the Court regarding their case. In essence, the

 Complainant filed the false 2022 Complaint, which was devoid of

 substance other than spurious and scandalous allegations, and

 immediately abandoned the claim.

 13. Despite the fact that this case was entirely obscure, having

 undergone no responsive pleadings, discovery, motions practice, or even

 initial case management, during October of 2023, an anonymous party

 obtained and published the 2022 Complaint in this case on their First

 Website, which was registered on September 11, 2023, and is dedicated

 entirely to “doxing,” defaming, and otherwise harassing Plaintiff and his

 colleagues.

 14. Upon further investigation, the address the Complainant listed on the

 2022 Complaint is a women’s shelter without permanent residents, no

 response to communications was received from the email address listed

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 on the 2022 Complaint, and the phone number is fictitious or otherwise

 disconnected.

 15. Given the foregoing, upon information and belief, “Susan Essex” is an

 assumed name under which the responsible individual filed the 2022

 Complaint.

 16. Pursuant to information produced by the registrars of the First

 Website and the email address used to file the 2022 Complaint, the same

 Internet Protocol (IP) Address was used to access/maintain the First

 Website and to access the email account from which the responsible

 individual(s) filed the 2022 Complaint.

 17. Likewise, pursuant information produced by the registrars of the

 First Website and the email address used to file the 2022 Complaint, the

 same phone number was used to register both the First Website and the

 email account from which the responsible individual(s) filed the 2022

 Complaint.

 18. Given the foregoing, upon information and belief, the individual(s)

 responsible for filing the 2022 Complaint are one and the same as the

 individual(s) responsible for creating and/or posting on the aforesaid

 First Website.

 19. Given the foregoing, the 2022 Complaint was filed under false

 pretenses, in bad faith, without basis in fact whatsoever, as fodder by

 which the individual(s) responsible might disparage Plaintiff on their

 First Website.

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 20. The entry on the First Website dedicated to republishing the 2022

 Complaint had generated 20 “comments” as of December 2023.

 21. Upon information and belief, given Plaintiff’s status as a generally

 obscure private citizen rather than a public figure, and the anonymous

 nature of the “comments” on the First Website, the aforesaid “comments”

 were generated by the individual(s) responsible for filing and republishing

 the 2022 Complaint.

 22. The entry on the First Website dedicated to republishing the 2022

 Complaint contained personally identifiable information regarding

 Plaintiff without his consent, including his name, telephone number,

 home address, and employment information.

 23. The entry on the First Website dedicated to republishing the 2022

 Complaint encouraged the general public to stalk, harass, and harm

 Plaintiff, variously encouraging the public to call Plaintiff’s phone

 number and contact him at his home.

 24. Furthermore, the entry on the Website dedicated to republishing the

 2022 Complaint contained extensive inflammatory language and

 accusations against Plaintiff, intended and likely to cause rash and

 unwarranted action against Plaintiff including harassment, stalking, and

 bodily injury to Plaintiff and his family.

 25. The aforesaid inflammatory language and accusations include, but

 are not limited to, charges that:

       a. that Plaintiff is “[t]rying to hide [the 2022 Complaint] like
          everything else;”
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       b. that Plaintiff is a “predator and people should know where he
          lives;”

       c. that Plaintiff is a “[s]exual” and “financial” predator;

       d. that “[m]ost of Wheaton knows about [the 2022 Complaint] and
          they have their own opinions. None are good;”

       e. that Plaintiff sought to “stiff’ the Complainant and that he
          “[p]robably” committed the acts alleged “right in Wheaton;”

       f.   that Plaintiff is “disgustingly abusive on so many levels;”

       g. that Plaintiff violated his professional obligations to his
          employers by failing to inform them of the 2022 Complaint; and

       h. that Plaintiff is a “terrible person who used [Complainant’s]
          circumstances against her to get her to unwillingly please him
          sexually.”

 26. Additionally, the First Website contains numerous other publications

 dedicated to defaming and disparaging Plaintiff’s integrity, ability, and

 the quality of the professional services Plaintiff provides in the scope of

 his employment.

 27. The aforesaid defamatory and disparaging accusations include,

 without limitation:

       a. Plaintiff was in dereliction of his duties to his financial services
          clients by “lying, hiding stuff, chasing after crazy-ass
          companies;”

       b. Plaintiff intentionally withheld information from investors and
          the board of directors of a company with which Plaintiff was
          engaged professionally;

       c. Plaintiff “acted solely for [his colleagues’] benefit and not for the
          benefit of the companies [with which he was engaged
          professionally] or the many, many investors;”




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       d. Plaintiff “abuse[d] [the] trust and misuse[d] proceeds” from
          companies with which he was engaged professionally; and

       e. Plaintiff disregarded the board of directors of companies with
          which he was engaged professionally, to the companies’
          detriment.

 28. After discovering the First Website and the 2022 Complaint published

 thereon, Plaintiff Wolfe immediately moved to vacate the dismissal

 entered on October 31, 2022, and sought to have the case sealed to

 prevent the further dissemination of the 2022 Complaint.

 29. On November 27, 2023, the Court granted Plaintiff Wolfe’s Motion to

 Vacate the dismissal entered on October 31, 2022, ordered the case

 sealed, and set the matter for status of Defendants’ answer to the 2022

 Complaint on January 3, 2024. See Order dated November 27, 2023, a

 true and correct copy of which is attached hereto as Exhibit 1.

 30. The Complainant received notice of the November 27, 2023, Order via

 email—delivered to the account used to file the 2022 Complaint—on

 November 29, 2023. See Email from Christine Marte to Plaintiff, a true

 and correct copy of which is attached hereto as Exhibit 2.

 31. The individual(s) responsible for maintaining/accessing the email

 account used to file the 2022 Complaint logged in to the email account at

 11:57 P.M. on November 29, 2023, as well as on 14 occasions thereafter.

 32. Counsel for Plaintiff Wolfe appeared before the Court for the status

 hearing on January 3, 2024. Because the Complainant failed to appear,

 the Court dismissed the case for want of prosecution. See Order dated



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 January 3, 2024, a true and correct copy of which is attached hereto as

 Exhibit 3.

 33. Thereafter, on or about January 9, 2024—6 weeks after the Court

 ordered the entire 2022 case sealed—an anonymous party created a

 second website (the “Second Website,” collectively, the “Websites”),

 hosted out of Lithuania, dedicated to republishing the 2022 Complaint.

 34. On or about that same date, the individual(s) responsible for

 maintaining the content of the First Website removed the 2022

 Complaint from the First Website.

 35. The Second Website was apparently created to be “linked” and

 published on the First Website, where it is currently republished and

 appears.

 36. Given the foregoing, upon information and belief, the individual(s)

 responsible for creating the First Website and republishing the 2022

 Complaint thereon received notice of the developments in the 2022 case,

 despite its status as being sealed.

 37. Given the foregoing, upon information and belief, the individual(s)

 responsible for filing the 2022 Complaint are one and the same as the

 individual(s) responsible for creating and/or posting on both Websites.

 38. Given the foregoing, upon information and belief, the individual(s)

 responsible for creating the Websites republished the 2022 Complaint on

 the Second Website in an effort to remove themselves from the

 jurisdictional “reach” of the Court.


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  39. The Second Website, as of the date of this filing, includes 21

  “comments” including, without limitation, comments alleging:

        a. Plaintiff “paid [the Complainant] off” in order to have the suit
           dismissed for want of prosecution;

        b. Plaintiff is currently “stalking . . . [a]nother homeless or
           underprivileged woman, no doubt;” and

        c. Plaintiff is “[t]otally unfit and incompetent” in his employment
           duties.

  40. In addition, the Second Website flagrantly and egregiously

  misappropriates Plaintiff’s name and likeness for its own use and benefit.

  Specifically, the Second Website misappropriates Plaintiff’s name and

  likeness solely to further the responsible individual(s)’ apparent vendetta

  or animosity against Plaintiff.

  41. Pursuant to a subpoena from Plaintiff, on or about February 2, 2024,

  the First Website’s registrar—Newfold Digital, Inc. (“Newfold”)—produced

  documents to Plaintiff related to the identity of the individual(s)

  responsible for creating and maintaining the First Website.

  42. The production from Newfold revealed the First Website was

  registered by an individual purportedly named “David Xanthan.”

  43. Plaintiff is unaware of an individual named “David Xanthan,” and

  subsequent investigation has revealed no individual by the name of

  “David Xanthan.”

  44. Upon information and belief, “David Xanthan” is yet another alias

  under which the responsible individual(s) have sought to conceal their

  misdeeds.
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  45. However, the production from Newfold also revealed the First Website

  was registered under a mailing address of 4521 Park Lane, Dallas, TX

  75220.

  46. Subsequent investigation revealed that 4521 Park Lane, until

  January 10, 2023, was the residence of Defendant Steven E. Looper—an

  individual with whom Plaintiff is professionally acquainted.

  47. Defendant Steven E. Looper is a convicted felon and the CEO of a

  company with professional ties to Plaintiff and his employer.

  48. Upon information and belief, Defendant Looper was convicted of

  embezzlement in 1981.

  49. Therefore, upon information and belief, Defendant Steven E. Looper

  is one of the individuals responsible for creating, maintaining, and

  publishing the content on the Websites and one of the individuals

  responsible for filing the 2022 Complaint.

  50. Upon information and belief, Defendant Steven E. Looper participated

  in the creation, maintenance, and publication of the content on the

  Websites, as well as the filing of the 2022 Complaint, in an effort to

  discredit, defame, and disparage Plaintiff and Plaintiff’s employer.

  51. Likewise, documents Google, LLC—the registrar and host of the email

  address used to file the 2022 Complaint—revealed a recovery email

  address associated with the email address used to file the 2022

  Complaint that apparently belongs to Defendant Paul Schlieve.




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  52. The recovery email address given to create the account from which

  the 2022 Complaint was identified as “PLSchlieve@gmail.com.”

  53. Paul Schlieve is an individual with whom both Plaintiff and

  Defendant Looper are acquainted.

  54. Defendant Schlieve is a computer scientist and convicted felon.

  55. In or about 2004, Defendant Schlieve was convicted of intent to

  distribute methamphetamine, conspiracy to distribute

  methamphetamine, use of a firearm during a drug trafficking crime, and

  possession of an unregistered firearm.

  56. As a result, Defendant Schlieve was sentenced to 160 months’

  imprisonment and five years’ supervised release.

  57. Upon information and belief, Defendant Schlieve’s employer at the

  time of his conviction likewise investigated and terminated Defendant

  Schlieve for fraudulent conduct in connection with invoices he submitted

  to his employer.

  58. During his incarceration, Defendant Schlieve was housed at the

  Federal Correctional Institutions at Oxford, Wisconsin and Big Sandy,

  Kentucky.

  59. While incarcerated, Defendant Schlieve trained himself as “jailhouse

  lawyer,” filing numerous motions, appeals, and appearances in cases to

  which he was not even a party in the Courts of the 5th and 7th Federal

  Circuits.




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  60. Following his incarceration, Defendant Schlieve was employed as a

  legal assistant at the firm of Clayborne, Sabo and Wagner in Bellville,

  Illinois.

  61. Given the foregoing, Defendant Schlieve is sufficiently knowledgeable

  regarding pleadings to have drafted or significantly aided in drafting the

  2022 Complaint.

  62. Upon information and belief, Defendant Schlieve met other

  individual(s) who would eventually act as his employers, partners,

  and/or joint-venturers in fraudulent schemes and activity while

  incarcerated.

  63. During 2016, Defendant Schlieve, with the aid of other as-yet

  unidentified individuals, began providing limited “complex litigation

  consulting” services to Plaintiff’s employer in connection with litigation in

  which Plaintiff’s employer was then engaged.

  64. In the ensuing years, Defendant Schlieve, upon information and

  belief at the behest of other as-yet identified co-conspirators, continued

  to work alongside Plaintiff as a “consultant” for Plaintiff’s employer and

  multiple entities owned or controlled by the Trusts for which Plaintiff

  served as Trustee until Defendant Schlieve’s consulting engagement was

  ultimately terminated on or about February 8, 2024.

  65. On or about July 3, 2023, Plaintiff received an anonymous letter

  threatening Plaintiff in connection with a corporate transaction with

  which Plaintiff and his employer were associated (the “Letter”).

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  66. The Letter echoed baseless accusations similar to those expressed by

  the individual(s) creating the Websites, including but not limited to

  allegations Plaintiff:

        a. “personally caused [the Corporation] to conduct its operations
           contrary to affirmative statements in the offering materials;”

        b. “personally withheld material information from the Board of
           Directors, which, had they known the information, would have
           prevented the failure of [the Corporation] . . .;” and

        c. “made material false statements to the Board of Directors, who
           relied on [Plaintiff’s] false statements in repeating those
           material false statements to investors.”

  67. Given the foregoing, upon information and belief, the individual(s)

  responsible for sending the Letter are one and the same as the

  individual(s) responsible for filing the 2022 Complaint and publishing the

  Websites.

  68. The responsible individual(s) sent the Letter from a post office located

  in Drexel, North Carolina.

  69. Defendant Schlieve is or was the managing member of Overall

  Builders, LLC, a Wisconsin limited liability company registered to do

  business in North Carolina.

  70. Overall Builders, LLC has a registered address in North Carolina of

  3402 Deal Avenue, Valdese, NC—located approximately four miles from

  the post office from which the Letter was sent.

  71. Given the foregoing, upon information and belief, Defendant Schlieve

  was one of the individuals responsible for sending the Letter, filing the

  2022 Complaint and registering/maintaining the Websites.
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  72. In or about February of 2024, Plaintiff and his colleagues discovered,

  upon information and belief, a scheme in which Defendant Schlieve, in

  concert with Defendant Looper and at the as-yet unidentified John Doe

  co-conspirator(s), engaged in real estate transactions that are under

  investigation for damaging the Trusts, for which Plaintiff serves as a

  Trustee and/or Director, in an amount in excess of $50 million.

  73. Therefore, upon information and belief, in addition to seeking to

  damage Plaintiff personally and thereby attack his fitness to serve as a

  Trustee of the Trusts and as a Director of entities held by the Trusts

  through the 2022 Complaint and Websites’ publication, Defendants

  acted in a broader effort to intentionally harm Plaintiff and other people

  associated with his employer in their abilities to work as financial

  professionals and to depress the value of property the Trusts owned.

  74. Upon information and belief, Defendants filed the 2022 Complaint

  and published the Websites in a concerted effort to damage Plaintiff and

  his employer’s reputation and business relationships, including but not

  limited to their reputation and relationships with banks and other

  lenders, in order to artificially create adverse market conditions and

  attack Plaintiff’s fitness to serve as Trustee of the Trusts and/or Director

  of the related entities to perpetuate the fraud described above.

  75. Specifically, Defendants engaged in a conspiracy to commit fraud and

  aid and abet the breach of fiduciary duties, in furtherance of which

  Defendant Schlieve and the John Doe co-conspirator(s) committed

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  numerous over acts including but not limited to filing the 2022

  Complaint, sending the Letter, and creating the Websites at the behest of

  Defendant Doe(s), as-yet unidentified co-conspirator(s), and for

  Defendants’ benefit in order to defame, disparage, and discredit Plaintiff

  and his employer with the primary aim of creating a perceived crisis of

  solvency and/or marketability.

  76. In this way, Defendants’ motive in filing the 2022 Complaint,

  publishing the Websites, and sending the Letter was not only to damage

  Plaintiff personally through the sheer defamation and disparagement

  caused thereby, but also to prevent his interference with the fraudulent

  scheme described above by causing him to be removed as Trustee and/or

  Director or otherwise bypassed.

  77. Likewise, through their scheme to remove Plaintiff from and/or

  interfere with his employment duties and duties as Trustee, Defendants

  intended not only to convert funds and property, but also to damage and

  preclude Plaintiff’s ability to investigate, discover, and rectify Defendants’

  fraud and recover the funds and property they stole, damaged, and/or

  misused.

  78. In turn, the perceived crisis created by Defendants’ scheme had the

  larger purpose of facilitating the fraud against Plaintiff’s employer that is,

  upon information and belief, strikingly similar to fraudulent schemes

  which Defendant Schlieve carried out prior to Schlieve’s conviction.




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  79. As part of his professional relationship with Plaintiff and Plaintiff’s

  employer, Defendant Schlieve served as the administrator of the website

  and corporate email account of an entity known as Terra Carta Partners,

  LLC.

  80. Terra Carta Partners, LLC, is an entity related to the property

  subjected to the larger fraud scheme against Plaintiff’s employer

  described above.

  81. As of the date of this filing, the website for Terra Carta Partners, LLC

  has been removed from the web, and Plaintiff’s access to his email

  account associated with Terra Carta Partners has been revoked.

  82. Given Defendant Schlieve’s role as administrator of the Terra Carta

  website and email accounts, and his control thereof, upon information

  and belief, Defendant Schlieve has removed the Terra Carta website and

  revoked Plaintiff’s email access in an ongoing attempt to destroy evidence

  and obscure Defendants’ involvement in the conduct alleged herein.

  83. As the allegations in the 2022 Complaint and published on the

  Websites are not only baseless and untrue, but also particularly

  scandalous, offensive, and outrageous, Plaintiff has experienced, and

  continues to experience, damage to his reputation and mental well-being

  as a result of the 2022 Complaint’s subsequent publication. Moreover,

  the website participants’ engagement in doxing and incitement of doxing

  represents a danger to the Plaintiff and his immediate family.




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                          Count I – Abuse of Process

  84. Plaintiff hereby incorporates by reference the allegations contained in

  ¶¶ 1-83 of his Complaint as if fully set forth herein.

  85. Defendants had an ulterior purpose or motive for filing the 2022

  Complaint so that the sole purpose of the proceeding was to “dox,”

  humiliate, intimidate, and/or extort Plaintiff Wolfe rather than pursue a

  legitimate breach of contract action against him, as evidenced by,

  without limitation:

           a. the particularly scandalous and obscene nature of the
              allegations therein;

           b. Defendants’ filing of the 2022 Complaint under an assumed
              name containing allegations they knew to be false;

           c. Defendants’ use of false contact information in filing the
              2022 Complaint;

           d. Defendants’ complete disinterest and lack of diligence in
              pursuing the claim; and

           e. Defendants’ republication—including republication on the
              Second Website in blatant violation of a court order—of the
              2022 Complaint on Websites dedicated solely to harassing
              and “doxing” Plaintiff.

  86. Defendants filed the 2022 Complaint to use the legal process for a

  purpose not proper in the regular prosecution of a breach of contract

  action, but rather only for subsequent publication on the Websites in

  order to cause Plaintiff to experience severe hardship and damage to his

  reputation, far beyond the purview of the legal process.




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  87. Indeed, the Court and its processes themselves have been abused as

  the means through which Defendants sought to effect the extreme

  malice, prejudice, and hardship against Plaintiff.

  88. As a direct and proximate result of Defendants’ abuse of process,

  Plaintiff has suffered, and will continue to suffer, damages in an amount

  to be proven at trial.

                           Count II – Malicious Prosecution

  89. Plaintiff hereby incorporates by reference the allegations contained in

  ¶¶ 1-83 of his Complaint as if fully set forth herein.

  90. Defendants instituted the 2022 Complaint as alleged herein and as

  evidenced by their publication of the 2022 Complaint—which was

  entirely obscure and had not even been served on Plaintiff, let alone

  litigated in any fashion—on the First Website, receipt of notice regarding

  developments in the sealed 2022 case and subsequent removal from the

  First Website and republication on the Second Website in response.

  91. Defendants lacked probable cause for the institution of the 2022

  Complaint as alleged herein and as evidenced by the fact Defendants

  filed the 2022 Complaint under a false name containing allegations they

  knew to be false, Defendants’ use of false contact information in

  instituting the 2022 Complaint, Defendants’ demonstrated lack of

  interest and intent to actually prosecute the claim, and Defendants’

  creation and republication of the 2022 Complaint on the Websites.




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  92. Defendants acted with malice in instituting the 2022 Complaint as

  alleged herein and as evidenced by the fact Defendants immediately

  abandoned the claim and subsequently republished the 2022 Complaint

  on the First Website dedicated to doxing, defaming, and harassing

  Plaintiff and his colleagues, removal of the 2022 Complaint on the First

  Website in response to the Court’s Order sealing the 2022 case, and

  subsequent registration of the Second Website in Lithuania and

  republishing of the 2022 Complaint thereon in direct, knowing, and

  contumacious violation of the Court’s November 27, 2023 Order sealing

  the case.

  93. The 2022 case terminated in Plaintiff’s favor when it was dismissed

  on January 3, 2024.

  94. As a direct and proximate result of Defendants’ malicious

  prosecution, Plaintiff has suffered special injury well beyond the common

  incident of most lawsuits in that Defendant did not institute the 2022

  Complaint for the good faith purpose of resolving a legal dispute or

  obtaining damages, but rather sought and succeeded to enact a direct

  interference with Plaintiff’s person and livelihood.

                             Count III – Defamation

  95. Plaintiff hereby incorporates by reference the allegations contained in

  ¶¶ 1-83 of his Complaint as if fully set forth herein.

  96. Defendants’ malicious and intentional defamation of Plaintiff through

  the filing, publication and transmission of the 2022 Complaint and


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  accusations on the Websites constitute defamation per se as they impute

  with Plaintiff the commission of adultery, the commission of a crime, and

  an inability to perform and/or want of integrity in the discharge of his

  employment duties.

  97. Defendants made the foregoing defamatory statements with

  knowledge of their falsity and with actual malice so as to justify an award

  of punitive damages given that, as the individual filing the 2022

  Complaint, Defendants knew Plaintiff had never interacted with “Susan

  Essex” and has certainly never engaged in the conduct Defendants

  allege.

                            Count IV – Disparagement

  98. Plaintiff hereby incorporates by reference the allegations contained in

  ¶¶ 1-83 of his Complaint as if fully set forth herein.

  99. Defendants published false and demeaning statements regarding the

  quality of Plaintiff’s professional services on the Websites as alleged

  herein.

  100.      Upon information and belief, Defendants made the aforesaid false

  and demeaning statements in an effort to influence the public visiting the

  Websites not to engage Plaintiff’s professional services due to Plaintiff’s

  alleged lack of professional competency and integrity and to damage

  Plaintif and Plaintiff’s employer.

  101.      Defendants made the aforesaid false and demeaning statements

  with malice as evidenced by the fact Defendants have no known


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  connection to or experience with the transactions Defendants

  disparaged, and therefore made the statements with conscious disregard

  of whether the statements were true or false.

  102.      As a direct and proximate result of Defendants’ disparagement,

  Plaintiff Wolfe has suffered, and will continue to suffer, damages in an

  amount to be proven at trial.

         Count V – Invasion of Privacy; Public Disclosure of Private Facts

  103.      Plaintiff Paul Schroth Wolfe hereby incorporates by reference the

  allegations contained in ¶¶ 1-83 of his Complaint as if fully set forth

  herein.

  104.      Defendants gave publicity to private facts concerning Plaintiff

  Wolfe by, inter alia, publishing Plaintiff Wolfe’s address and telephone

  number on the First Website.

  105.      The facts Defendants published on the First Website were private

  and not public facts regarding Plaintiff Wolfe.

  106.      The publication of the private facts regarding Plaintiff Wolfe as

  alleged herein would be highly offensive to a reasonable person in that

  they were disclosed in a context in which Defendants encouraged the

  public to use the facts to “dox,” harass, and harm Plaintiff Wolfe and his

  family.

  107.      As a direct and proximate result of Defendants’ invasion of

  privacy, Plaintiff Wolfe has suffered, and will continue to suffer, damages

  in an amount to be proven at trial.


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                              Count VI – False Light

  108.    Plaintiff hereby incorporates by reference the allegations

  contained in ¶¶ 1-83 of his Complaint as if fully set forth herein.

  109.    Defendants placed Plaintiff in a false light before the public when

  they knowingly advanced false accusations against him via the 2022

  Complaint and subsequent publication on the Websites as alleged

  herein, including but not limited to accusations that Plaintiff is an

  adulterer and a criminal.

  110.    Defendants’ statements were made to the public at large given the

  Websites are freely accessible to every individual with internet access

  throughout the world as is the 2022 Complaint itself and the accusations

  therein.

  111.    The false light in which Defendants placed Plaintiff is highly

  offensive to a reasonable person given the allegations specifically accuse

  Plaintiff of “preying” on and “stalking” vulnerable individuals for sexual

  services, of being a danger to the community, of unethical and immoral

  conduct regarding his employment, of adultery, and of criminal conduct.

  112.    As alleged herein, Defendants filed the 2022 Complaint and

  republished the same, along with the accusations on the Websites, with

  actual knowledge that the statements were false and actual malice given

  Defendants filed the 2022 Complaint under a false name, knew Plaintiff

  has never interacted with “Susan Essex” and has certainly never engaged

  in the conduct Defendant alleged.


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            Count VII – Violation of the Illinois Right of Publicity Act

  113.    Plaintiff hereby incorporates by reference the allegations

  contained in ¶¶ 1-83 of his Complaint as if fully set forth herein.

  114.    Defendants’ unauthorized use of Plaintiff’s identity for commercial

  purposes is a violation of the Illinois Right of Publicity Act, 765 ILCS

  1075/1-60.

  115.    Specifically, Defendants made use of Plaintiff’s identity including

  but not limited to the use of his name in the Second Website in

  connection with Plaintiff’s sale of services in an effort to damage Plaintiff

  and Plaintiff’s employer and in an effort to harm Plaintiff’s business

  relationships/reputation, including but not limited to his relationships

  and reputation with banks and other lenders, in, upon information and

  belief, an overarching scheme to defraud Plaintiff’s employer.

  116.    Defendants’ use of Plaintiff’s identity was unauthorized because

  Defendants did not obtain Plaintiff’s consent to use of his identity in

  connection with the domain name of the Second Website. In fact,

  Defendants actively sought to conceal their involvement in the Websites’

  publication.

  117.    Defendants’ use of Plaintiff’s identity was willful because they

  used Plaintiff’s identity intentionally and with knowledge that its use was

  not authorized. In fact, Defendants’ entire purpose in filing the 2022

  Complaint and publishing the Websites was to damage Plaintiff for their

  own gain.


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  118.    Plaintiff has been damaged by Defendants’ unauthorized use of

  Plaintiff’s identity.

           Count VIII – Violation of 15 U.S.C. § 1125(d)(1); Cyberpiracy

  119.    Plaintiff hereby incorporates by reference the allegations

  contained in ¶¶ 1-83 of his Complaint as if fully set forth herein.

  120.    Defendants have a bad faith intent to profit from the illicit use of

  Plaintiff’s name in the Second Website as demonstrated by:

            a. Plaintiff’s trademark and intellectual property rights in the
               use of his personal name in the Second Website;

            b. The use of Plaintiff’s legal name in the domain of the Second
               Website;

            c. Defendants’ lack of any bona fide noncommercial use of
               Plaintiff’s name in the Second Website;

            d. Defendants’ demonstrated intent in use of Plaintiff's name to
               harm the goodwill represented by Plaintiff’s name both for
               Defendants’ own commercial gain and with the intent to
               tarnish and disparage Plaintiff’s name; and

            e. Defendants’ provision of material and misleading false
               contact information when registering the domain name, as
               alleged herein.

  121.    Defendants’ registration, trafficking in, and use of Plaintiff’s

  personal name, which is protected as a mark under 15 U.S.C. § 1125, in

  the domain name of the Second Website therefore constitutes a violation

  of 15 U.S.C. § 1125(d)(1).




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                                Prayer for Relief

  WHEREFORE, Plaintiff requests this Court enter judgment against

  Defendants Steven E. Looper, Paul Schlieve a/k/a Paul Whinnery a/k/a

  Paul Schmidt, and John Doe(s), unidentified co-conspirator(s), as follows:

     A. Awarding Plaintiff compensatory, special, incidental and punitive

        damages, in an amount to be determined at trial, plus costs, fees,

        and post-judgment interest at the legal rate from the date of

        judgment until paid in full;

     B. Issuing an order forfeiting and cancelling the Websites or ordering

        the transfer of the Websites to Plaintiff pursuant to 15 U.S.C. §

        1125(d)(1)(C);

     C. Issuing an injunction preventing Defendants from maintaining the

        Websites’ publication, communicating about Plaintiff on any social

        media website or creating any new websites regarding Plaintiff or

        his employer;

     D. Issuing an order directing Defendants Schlieve and Looper to

        disclose information which will reveal the true identity of

        Defendant(s) John Doe, unidentified co-conspirator(s); and

     E. Awarding such other relief as this Court deems just and equitable.




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                             Demand for Jury Trial

  Plaintiff demands trial by jury on all issues so triable.



 Dated: February 23, 2024          Respectfully submitted,

                                   /s/Thomas E. Patterson
                                   Thomas E. Patterson
                                   Garret von Schaumberg
                                   Patterson Law Firm, LLC
                                   200 W. Monroe St., Suite 2025
                                   Chicago, Illinois 60606
                                   Tel. 312-223-1699/Fax 312-223-8549
                                   tpatterson@pattersonlawfirm.com
                                   gvonschaumburg@pattersonlawfirm.com
                                   Attorney for Plaintiff




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                               EXHIBIT 1
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                                EXHIBIT 2
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Garrett Von Schaumburg

From:                             Christine Marte
Sent:                             Wednesday, November 29, 2023 1:37 PM
To:                               Susanessex21@gmail.com
Cc:                               Thomas Patterson; Garrett Von Schaumburg
Subject:                          Wolfe adv. Essex Case# 2022-LA-692 - November 27, 2023 Order
Attachments:                      2023.11.29 Proof of Service of 11-27 Order.pdf; 2023.11.27 Order.pdf



Good afternoon,

Please see attached Order entered on November 27, 2023, in the above referenced matter.
Thank you.

Sincerely,

Christine Marte
Paralegal




200 W. Monroe, Suite 2025
Chicago, Illinois 60606
Dir (312) 750-1816 • Tel (312) 223.1699 ext. 117 • Fax (312) 223.8549
email | website
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                                EXHIBIT 3
sna                 Case: 1:24-cv-01538 Document #: 1 Filed: 02/23/24 Page 33 of 33 PageID #:33
      ACTION
                                                              UNITED STATES OF AMERICA
        STATE OF ILLINOIS                                                                                                  COUNTY OF DU PAGE
                                        IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT



         SUSAN ESSEX
                                                 Plaintiff

                               -VS-                                       2022LA000692
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                                                                         CASE NUMBER
                                                                                                                         24 Jan03 AM 09: 33
         PAUL SCHROTH WOLFE
                                               Defendant
                                                                                                                          (iy.Aw
                                                                                                                         ISTH JUDICIAL CIRCUIT
                                                                                                                       DUPAGE COUNTY, ILLINOIS




                                                                     ACTION ORDER

       This matter having come before the Court, the Court having jurisdiction and being fully advised in the premises

       IT IS HEREBY ORDERED as follows:

       The case is dismissed for want of prosecution.



       Plaintiff failed to appear




       Submitted by: JUDGE ANGELO J KAPPAS                                                    GA"*rtfu,,*^
       DuPage Attomey Number:
       Attorney for:
                                                             lrno   se                        JUDGE ANGELO J KAPPAS
                                                                                              Validation ID : DP-O1032024-0933-16218


                                                                                              Date:0U0312024




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